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 2
                                                                          FILED IN THE
                                                                      U.S. DISTRICT COURT
                                                                EASTERN DISTRICT OF WASHINGTON



 3                                                               Oct 21, 2021
                                                                     SEAN F. MCAVOY, CLERK

 4

 5                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
 6

 7    UNITED STATES OF AMERICA,
                                                 NO: 4:21-CR-6028-RMP
 8                             Plaintiff,
            v.                                   PRETRIAL ORDER AND ORDER
 9                                               GRANTING MOTION TO CONTINUE
      JOSE MENDOZA-RUELAS (1),
10    OSCAR CHAVEZ-GARCIA (2),
      and JOEL CHAVEZ-DURAN (3),
11
                              Defendants.
12

13         A pretrial hearing was held in this matter on October 19, 2021. Defendants

14   Jose Mendoza-Ruelas, Oscar Chavez-Garcia, and Joel Chavez-Duran, who are in

15   custody of the U.S. Marshal, were present and represented by Assistant Federal

16   Defenders Alex B. Hernandez and Nick Mirr, attorney Roger J. Peven, and Criminal

17   Justice Act Attorney Adam R. Pechtel, respectively. Defendants Mendoza-Ruelas

18   and Chavez-Duran were assisted by Court-certified interpreters Natalia Rivera and

19   Kenneth Barger. Assistant United States Attorney Stephanie A. Van Marter was

20   present on behalf of the Government.

21


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 1         Before the Court is Defendant Chavez-Duran’s Motion to Suppress Evidence,

 2   ECF No. 51, and Defendant Chavez-Garcia’s Motion Continue Trial, ECF No. 71.

 3   This Order addresses the Motion to Continue, only; a separate Order will be entered

 4   resolving the Motion to Suppress Evidence.

 5         Defendant Chavez-Garcia moves for a continuance to allow additional time to

 6   investigate this case. The Government does not object to a continuance in this

 7   matter, and co-defendant Mendoza-Ruelas orally moved to join the Motion to

 8   Continue. Co-defendant Joel Chavez-Duran objected to a continuance until the

 9   Court makes a ruling on the Motion to Suppress. The Court has reviewed the file,

10   has heard from counsel, and is fully informed. This Order is entered to memorialize

11   the oral rulings of the Court concerning the Motion to Continue, only.

12         A trial date of November 8, 2021, would deprive defense counsel of adequate

13   time to obtain and review discovery and provide effective preparation, taking into

14   account the exercise of due diligence. 18 U.S.C. § 3161(h)(7). Therefore, the Court

15   finds that the ends of justice served by ordering a continuance of proceedings in this

16   matter outweigh the best interests of the public and Defendants’ right to a speedy

17   trial, pursuant to 18 U.S.C. §3161(h)(7)(A).

18         Accordingly, IT IS HEREBY ORDERED:

19         1.   Defendant Chavez-Garcia’s Motion to Continue Trial, ECF No. 71, is

20   GRANTED and is applicable to all Defendants.

21


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 1           2.   The current trial date of November 8, 2021, is STRICKEN and RESET

 2   to March 14, 2022, at 8:45 a.m. commencing with a final pretrial conference at

 3   8:30 a.m. Trial shall take place in Richland, Washington.

 4           3.   A pretrial conference is set for February 14, 2022, at 9:30 a.m., and a

 5   second pretrial conference shall be held on March 7, 2022, at 9:30 a.m. in Spokane

 6   Courtroom 901.

 7           4.   Counsel for defense shall notify Defendants of all hearings and ensure

 8   their attendance at court.

 9           5.   Motions to Expedite, if any, shall be filed separately and noted for

10   hearing two (2) days from the date of filing, after informing opposing counsel of

11   such.

12           6.   Discovery motions, pretrial motions, and motions in limine shall be filed

13   by January 24, 2022; responses are due January 31, 2022; and replies are due

14   February 7, 2022. Counsel shall note their motions for hearing at the pretrial

15   conference on February 14, 2022.

16           7.   Any motion filed by a defendant in this matter, which is not limited by

17   its subject matter to the defendant filing the motion, shall also be considered to be a

18   motion filed on behalf of the co-defendants. If a co-defendant does not wish to join

19   a particular motion, he or she shall file a notice to the effect and “opt out” of the

20   filed motion. This will avoid the necessity of each defendant filing duplicate

21   motions.


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 1         8.     Trial briefs, requested voir dire, witness lists, jointly proposed jury

 2   instructions, and a table of proposed jury instructions shall be filed and served by

 3   March 4, 2022, for the Court’s consideration and shall heard the second pretrial

 4   conference on March 7, 2022.

 5         (a) The jointly proposed jury instructions should address only issues that are

 6         unique to this case and shall include instructions regarding the elements of

 7         each count, any necessary definitions, and a proposed verdict form.

 8         (b) The parties shall provide the Court electronically with a table of

 9         proposed, cited jury instructions. This table shall include:

10              (i)     The instructions on which the parties agree;

11              (ii)    The instructions that are disputed; and

12              (iii)   The basis of any objection.

13              (iv)    The jury instruction table shall be substantially in the following

14                      form:

15    Proposed by        Instruction #     9th Cir. Cite    Objection        Response to
                                                                             objection
16

17         (c) In addition to the jury instruction table, each party shall address any

18         objections they have to instructions proposed by any other party in a

19         memorandum on or before March 4, 2022. The parties shall identify the

20         specific portion of any proposed instruction to which they object supported by

21         legal authority that supports the objection. Failure to file an objection to any


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 1         instruction may be construed as consent to the adoption of an instruction

 2         proposed by another party.

 3         9.   Pretrial Exhibit Stipulation

 4         (a) The parties shall prepare and file, by March 4, 2022, a pretrial exhibit

 5         stipulation that contains each party’s numbered list of all trial exhibits with the

 6         opposing party’s objections to each exhibit, including the basis of the

 7         objection and the offering party’s brief response. All exhibits to which there

 8         are no objections shall be deemed admitted, subject to any objections at trial

 9         that could not be raised in advance. Failure to comply with this paragraph

10         could be deemed to constitute a waiver of all objections. Do not submit

11         blanket or boilerplate objections to the opposing party’s exhibits. These will

12         be disregarded and overruled.

13         (b) The pretrial exhibit stipulation shall be substantially in the following

14         form:
                                 Pretrial Exhibit Stipulation
15
     Plaintiff’s/Defendants’ Exhibits
16
       Exhibit No.        Description       If Objection, State     Response to Objection
17                                               Grounds

18         (c) Exhibits shall be pre-marked with the exhibit numbers that will be used

19         at trial. Plaintiff’s trial exhibits are to be numbered 1 through 199, and

20         Defendants’ exhibits are to be numbered 200 and following.

21


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 1        (d) Objections to exhibits and witnesses shall be heard at the final pretrial

 2        conference.

 3        10. Trial Procedures

 4        The following procedures shall be utilized at trial:

 5        (a) The Court utilizes JERS (Jury Evidence Recording System) to allow

 6        evidence admitted for a trial to be viewed electronically via touchscreen

 7        monitor in the jury deliberation room upon the conclusion of the trial. Please

 8        note that the jury will receive a verbatim copy of the JERS exhibit list. Please

 9        carefully review and follow the instructions provided.

10        JERS Instruction Sheet for Attorneys

11        (b) The Court will conduct the majority of jury voir dire but allow counsel

12        15 minutes to ask additional questions or to do more in depth exploration of

13        issues raised by the Court;

14        (c) A total of 13 jurors will be selected. Plaintiff shall have 6 peremptory

15        challenges, Defendants shall have 10 peremptory challenges, and each side

16        shall have one challenge for the alternate juror. Fed. R. Crim. P. 24. The

17        challenges shall be exercised alternately;

18        (d) Regular trial hours shall be from 8:45 a.m. to 12:00 noon, and 1:15 to

19        4:30 p.m.;

20        (e) The jurors will be provided with notebooks for note-taking and a copy of

21        preliminary instructions;


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 1        (f)   Documents published to the jury by counsel shall be collected at the

 2        conclusion of trial each day or following a witness’s testimony regarding the

 3        published document;

 4        (g) A single photograph shall be taken of all witnesses following their

 5        testimony for use by the jury to correlate a witness with the testimony he or

 6        she provided. The photographs shall be maintained in a three-ring binder by

 7        the Court. The photograph will have the witness’s name on it and the date of

 8        the witness’s testimony. The photographs will be provided to the jury to assist

 9        them during deliberations. Following deliberations, the photographs will be

10        destroyed by the Court and will not be a part of the record;

11        (h) Examination of witnesses shall be limited to direct, cross, redirect and

12        recross. Fed. R. Evid. 611(a);

13        (i)   Counsel are encouraged to limit requests for sidebars by anticipating

14        legal and evidentiary issues so that the issues may be addressed before trial

15        begins each day, during the lunch hour, or after trial hours;

16        (j)   During trial, counsel are encouraged to exchange lists of the next day’s

17        witnesses and exhibits so that objections or legal issues may be anticipated

18        and resolved outside the normal trial hours;

19        (k) Counsel shall have the next witness to be called to testify available

20        outside the courtroom, to avoid delay; and

21


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 1         (l)   An attorney’s room for Plaintiff and for Defendants is available.

 2         Counsel may inquire with the on-duty Court Security Officer for access to the

 3         rooms.

 4         11. Any Defendant represented by CJA appointed counsel that will request

 5   issuance of subpoenas and payment of costs and fees for trial witnesses will file such

 6   requests no later than ten (10) days before trial, excluding weekends and holidays.

 7   Defense counsel may request, as needed, that the motion and order be filed under

 8   seal. Defense counsel shall prepare a proposed order that includes the following

 9   language:

10         (a) That the United States Marshal shall serve the subpoenas on the

11         witnesses identified by name, address, and phone number. The subpoenas

12         shall state when the witnesses’ appearances are requested;

13         (b) That the subpoenaed individual shall contact the United States Marshal

14         in the district in which they are served so that the Marshal may make travel

15         arrangements, for those witnesses requiring such arrangements; and

16         (c) That any witness fees and per diem allowances shall be paid by the

17         Government after the witness has testified. Requests for advance payment

18         shall be directed to the United States Marshal in the district in which the

19         witness is served or the United States Marshal in the district in which the

20         witness is present to provide testimony.

21


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 1       Defense counsel shall contact the Case Administrator in the District Court

 2   Clerk’s office, (509) 458-3400 to obtain information on how to make lodging

 3   arrangements for those witnesses requiring lodging.

 4         12. Counsel is on notice that no CJA money is available to pay per diem

 5   expenses for indigent defendants. Should an indigent defendant require

 6   transportation to trial and/or housing and meals during the trial, defense counsel

 7   shall apply for such travel and costs no later than ten (10) days, excluding weekends

 8   and holidays, prior to the date of the trial.

 9         13. A Waiver of Speedy Trial Rights was signed by Defendants Jose

10   Mendoza-Ruelas and Oscar Chavez-Garcia. ECF Nos. 73, 74. All time from the

11   current trial date of November 8, 2021, to the new trial date of March 14, 2022, is

12   EXCLUDED for all Defendants for speedy trial calculations pursuant to 18 U.S.C.

13   § 3161(h)(7).

14         14. All time from the filing of Defendants’ Motion to Continue on October

15   18, 2021, to the date of the hearing on October 19, 2021, is excluded for speedy trial

16   calculations pursuant to 18 U.S.C. § 3161(h)(1)(D).

17         IT IS SO ORDERED. The District Court Clerk is directed to file this Order

18   and provide copies to counsel.

19         DATED October 21, 2021.

20                                                      s/ Rosanna Malouf Peterson
                                                     ROSANNA MALOUF PETERSON
21                                                      United States District Judge


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